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 9                                 UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA                        Case No: 2:06-cr-505 EJG
12                  Plaintiff,                       REQUEST FOR RELEASE OF PASSPORT
13            vs.
14   JOSEPH BREWER,
15                  Defendant.
16            On September 29, the Court granted the government’s motion to dismiss the indictment
17   against Mr. Brewer. As a condition of release, Mr. Brewer surrendered his passport. In light of
18   the dismissal of the case, we request that the Court order the release of Mr. Brewer's passport
19   to him
20   Dated: September 30, 2008                Geoffrey A. Goodman
                                              Nossaman LLP
21

22
                                              By:      /s/ Geoffrey A. Goodman
23
                                                              Geoffrey A. Goodman
24                                            Attorneys for Defendant

25   IT IS SO ORDERED:
26   Date: Oct. 2. 2008                       /s/ Edward J. Garcia
                                              EDWARD J. GARCIA
27                                            United States District Court Judge
28

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                                   REQUEST FOR RELEASE OF PASSPORT
